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                   UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA

               BEFORE THE HONORABLE WILLIAM H. ALSUP

ORACLE AMERICA, INC.,              )
                                   )
             Plaintiff,            )
                                   )
  vs.                              )       NO. C 10-03561 WHA
                                   )
GOOGLE INC.,                       )
                                   )       San Francisco, California
             Defendant.            )       Wednesday
                                   )       April 6, 2011
___________________________________)       1:41 p.m.

                     TRANSCRIPT OF PROCEEDINGS

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(Appearances continued on next page)

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20   Also Present:              John Mitchell

21

22

23

24

25
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1               THE COURT:    Good afternoon, everyone.      Welcome back.

2    Please be seated.

3               Okay.   We're here in the case of Oracle versus

4    Google.   Number 10-3561.    Please make your appearances.

5               MR. JACOBS:   Michael Jacobs, from

6    Morrison & Foerster, your Honor, for Oracle.

7               With me at counsel table is Ruchika Agrawal, who,

8    consistent with your Honor's guidance, will have a speaking

9    role in the tutorial today.     And then next to her is

10   Roman Swoopes, who's assisting on the tutorial;

11   Professor John Mitchell, of the Computer Science Department at

12   Stanford University, our retained expert in the case;

13   Andrew Temkin, corporate counsel at Oracle; and Marc Peters, my

14   partner, who'll be handling the discovery issues this morning.

15              THE COURT:    All right.   And on the other side.

16             MR. WEINGAERTNER:     Good afternoon, your Honor.

17   Scott Weingaertner, of King & Spalding, for Google.

18             Here with me at counsel table are Bruce Baber;

19   Renny Hwang, of Google; Steve Snyder, also of King & Spalding;

20   Fritz Zimmer, King & Spalding; and Mark Francis, also of

21   King & Spalding, who will be assisting with the presentation

22   today.

23             THE COURT:     All right.   Here's what we will do.       I

24   know I noticed the discovery hearing for this.        So we'll take

25   that up last, if time permits.      If it doesn't permit, then I
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1    may have to refer all discovery in this case to a Magistrate

2    Judge, because I'm in a trial that takes from 5:00 a.m. until

3    1:00 every day, and I run out of time.

4               I'm going to do your claim construction.

5               Yes, sir.

6               MR. BABER:   Your Honor, I was just going to say --

7    and Mr. Peters can jump in, but we did have a plus-four hours

8    meet-and-confer.    We have reached agreement on a number of

9    things.   I believe it's going to be a question of reading into

10   the record the agreements we reached.

11              THE COURT:   How long will that take?

12              MR. BABER:   Probably less than five minutes.

13              THE COURT:   All right.    Well, then, does that end it,

14   or is there more for me to rule on?

15             MR. BABER:    At this point, your Honor, I don't know

16   if there's any more for you to rule on.

17             THE COURT:    All right.    Then let's put it on the

18   record, and then we'll go to your tutorial.        So that's good.

19   That's good.   Thank you for doing that.

20             Okay.    Mr. Jacobs said he would be arguing the

21   discovery.

22             Is there more -- is that true? -- to put on the

23   record?

24             MR. PETERS:    It will be me, your Honor.       There won't

25   be anything to argue if we just put this on the record.
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1               THE COURT:    Great.    You two come forward.    Here's the

2    way you do it.    You state what the agreement is.       Pause after

3    each sentence.    And then the other side says, "Agreed," or "Not

4    agreed," as the case may be.

5               Go ahead.

6               MR. BABER:    Okay.    Your Honor, we did discuss a lot

7    of issues.   We reached a agreement on a number of them.            One by

8    one.   First are some process steps.

9               We agreed that if either party has raised an issue by

10   e-mail or by letter to the other side, and hasn't heard back in

11   a reasonable period of time for a response, that party will

12   follow up, and simply remind the other party that the request

13   is outstanding.    In response to the follow-up, the other side

14   will, by the close of next business day, respond with either

15   some communication saying, "We're not going to do what you

16   asked us to," or "We are looking into it, and we expect to

17   provide a substantive response by a date certain."         Just a

18   process.   Sort of make sure that communications keep flowing

19   appropriately.

20              MR. PETERS:    We agree to that procedure, your Honor.

21              THE COURT:    And before you go any further, can I make

22   a comment?

23              MR. BABER:    Yes, sir.

24              THE COURT:    I have a pretty strong rule -- not rule,

25   but encouragement -- to get young people to argue in court.
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1              On the other hand, I have found that if you delegate

2    down to young people the discovery disputes, which often

3    happens, they don't get resolved, and that they actually get

4    resolved better if you give them the higher up the chain you

5    go, because the lawyers higher up the chain have the competence

6    to give something up.    So I encourage you to either have your

7    number-one or number-two person on the case to do that second

8    letter.

9              In other words, if you're going to write back and

10   say, "We're not going to do anything more on that," or "Here's

11   all we're going to do, and that's the end of it," I encourage

12   it to be number one or number two, and not a lower-down person.

13             MR. BABER:    Your Honor, I think you've read our

14   collective minds.

15             Second point is that every ten days, from now until

16   the time of trial, we will have a telephone conference in the

17   case, in which the senior-level lawyers on both sides will

18   participate; either Mr. Weingaertner, myself, or Mr. Perry for

19   Google; Mr. Jacobs, Mr. -- Dr. Peters, or Mr. Holtzman for

20   Oracle, depending on the issues.      We will have an agenda two

21   days in advance of those calls, so any discovery or other

22   issues that are out there that either side wants to talk about,

23   we will have a set time for the senior folks on the case to

24   talk about them, and try to resolve them.

25             And we have undertaken to send to Oracle, by the end
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1    of this week, a proposed, specific schedule for the every ten

2    days from here until the time of trial.

3                MR. PETERS:    That's right, your Honor.

4                THE COURT:    Great.    Wonderful.

5                MR. BABER:    Okay.    Point number three, your Honor, is

6    on supplementation of interrogatory answers, we have agreed

7    that both parties will supplement interrogatory answers by

8    Friday, April 22nd, which is two weeks from this Friday.            And

9    then we also have some additional supplementation from Google.

10   I'll go into the details in a second.         The broad parameter is

11   April 22nd.

12               MR. PETERS:    That's right.

13               THE COURT:    Stop on that.    That's good.

14               I want just say to you both I won't make a ruling on

15   this now, but if I was in your position, I would have an

16   exceedingly good answer, because I may encourage somebody to

17   bring a motion to knock out a defense or knock out a claim for

18   insufficient basis.      So if you want to protect yourself against

19   that, you should err on the side of more disclosure and more

20   answer, and not hide the ball.        Okay?

21               MR. BABER:    Yes, your Honor.

22               THE COURT:    That's just a word to the wise.

23               Okay.   What's your next --

24               MR. BABER:    Next point, your Honor, is a little more

25   specific.    On the supplementation of interrogatory answers,
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1    Oracle has agreed that it will supplement its responses to

2    Google's Interrogatories 1 through 10 by April the 22nd, and

3    will include in those supplemental responses any additional

4    information that supports its contentions or positions, and/or

5    to take out any items that it no longer relies on to the extent

6    its contentions have changed, and things that may have been

7    identified as potentially infringing early on now may drop out

8    of the equation, but that will be Oracle's supplementation.

9              Google's supplementation by April 22nd is that we

10   will supplement our responses to Interrogatories 4.         We will

11   supplement our response to Number 5, if response to Oracle's

12   recently supplemented infringement contentions.         We will also

13   supplement Number 6, 7, 8, 10 through 16 in the first instance.

14             And then on April 29th, after we've received their

15   supplements, we will supplement again as to our answers to

16   Number 9 and 10, which are copyright-related ones that deal

17   with specific files.    So we need to see what they come back at

18   us with before we can respond.

19             MR. PETERS:    That's our agreement, your Honor.

20             THE COURT:    Wonderful.    Next.

21             MR. BABER:    Your Honor, we also discussed Google's

22   response to Oracle's Interrogatory Number 3, which relates to

23   noninfringement.    We have agreed that by next Monday, we will

24   send to Oracle's counsel a letter summarizing what we think we

25   heard from them in the meet-and-confer, and clarify what more
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1    it is they want us or would ask us to put in that interrogatory

2    answer.   They will respond to that, and confirm that either

3    that is or is not the case.      And we will then see what's on the

4    table, and we will supplement it to the extent we believe it

5    needs supplementation.     And we'll do it within 14 days after

6    that.

7               Once we have supplemented again on noninfringement,

8    Oracle will then come back to us and tell us where they

9    disagree with any new information we've shared with them.           In

10   other words, if we say, "It doesn't -- it's not covered by a

11   claim for this reason," and then they'll come back and, if we

12   ask them to, they'll tell us, "Well, we say it is, and here's

13   why."   So again, back and forth on a 14-day framework.

14              MR. PETERS:    That's right, your Honor.

15              THE COURT:    Okay.

16              MR. BABER:    With respect to supplemental

17   interrogatory answers generally, the parties have agreed in

18   concept aspirationally to the concept of parity.         That is, both

19   parties will make their best efforts in good faith to provide a

20   comparable level of particularity, granularity, detail --

21   whatever you want to call it -- that is being provided by the

22   other side.

23              THE COURT:    Isn't that what you agreed to last time?

24              MR. BABER:    I beg your pardon, your Honor?

25              THE COURT:    That's what both sides agreed to last
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1    time.

2               MR. BABER:    Well, we thought so as well.

3               THE COURT:    It fell apart.

4               MR. BABER:    I'm not sure it fell apart.    We may be

5    moving to a different level of granularity at this point.         And

6    so we will try to be sure we are each providing apples and

7    apples.   And that's true whether it's a question of fact, a

8    contention, or, where appropriate, the application of fact to

9    law.

10              MR. PETERS:    Consistent with your Honor's earlier

11   indication about getting as much information as possible

12   through interrogatory responses, that is our agreement.

13              THE COURT:    Great.

14              MR. BABER:    Next issue, your Honor, has to do,

15   instead of interrogatories, with the plaintiff's infringement

16   contentions under the patent local rules.

17              Oracle has declined Google's offer to allow Oracle to

18   supplement its infringement contentions again.       Oracle has

19   chosen to rely on its infringement contentions as currently

20   framed.

21              Google's position that they are inadequate, in

22   particular on the issue of proof of direct infringement; but

23   the parties have agreed to disagree.

24              Google has withdrawn its offer to consent to an

25   amendment of the infringement contentions.
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1               And both parties have agreed to simply reserve their

2    rights for later; to tee it up, if necessary, with your Honor.

3               MR. PETERS:    That's right, your Honor.    We have

4    agreed to disagree.

5               THE COURT:    Well, all right, but you remember what I

6    said, you know.   Shifting sands, and all that of that.

7               MR. PETERS:    I know, your Honor.

8               THE COURT:    If you want to stand on your shifting

9    sands, and they get shifted out from under you, then you just

10   lose.   End of story.    So I'm not saying you will, but we've got

11   those disclosure rules for a reason.      And if your -- if your

12   disclosures aren't good enough, there won't be a second chance.

13   You just lose.    All right.

14              MR. BABER:    And I believe the last one --

15              THE COURT:    What's next?

16              MR. BABER:    -- your Honor, was actually not an

17   agreement, but simply to report to the Court we discussed a lot

18   of other issues in the conference:      Document productions,

19   processes, electronic discovery.     We didn't have a chance to

20   address them all, or even resolve many of them, but we think,

21   given the processes we've now put in place for conferences and

22   communications, we're hopeful we will be able to address those.

23              We have some disconnects in terms of your Honor's

24   order on 30(b)(6) topics, for example; but we think that with a

25   little further work, we may be able to get those resolved so
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1    that we can keep continuing forward.      We've started taking

2    depositions and --

3              THE COURT:    Discovery cutoff is in July, so you'd

4    better get cracking.

5              MR. BABER:    We're moving, your Honor.

6              THE COURT:    Well, moving is not -- I mean, okay.

7    You've got to get moving, but there's a deadline.

8              MR. BABER:    We understand.

9              THE COURT:    All right.   Okay.   Is that it?

10             MR. PETERS:    Yes, your Honor.

11             THE COURT:    You all should be working for the

12   State Department, you did such a good job.      You found a way to

13   just find ways to agree; not really an agreement; but you're

14   finding ways to agree.    So I need you over, you know, in the

15   Mideast, I think, to help solve some problems.       Okay.   Thank

16   you.

17             MR. PETERS:    Thank you, your Honor.

18             THE COURT:    Now we're going to go to -- well, the

19   main event, which is -- and I do need that -- I've got to be

20   chairing a meeting at 3:00 p.m., so I only have 55 minutes.

21   And I'm sorry for that, but each side gets 30 minutes.        So you

22   use the 30 minutes as you wish.

23             Now, I don't want -- if you want to go over into

24   arguments about the claim construction and all -- a little bit

25   of that's okay, but right now I'm basically interested in
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1    learning your take on the underlying technology.

2               It does help me in these tutorials to know roughly

3    where the old technology started or stopped, and new tech in

4    the invention began, because sometimes I go away from these

5    tutorials thinking, "My God.     That's great," and then I learn

6    that all of it was prior art.

7               So it helps to know where the prior art stops and the

8    new invention -- but you know, overarching thing is I want to

9    learn the basic technology.

10              So, Mr. Jacobs, you go right ahead.

11              MR. JACOBS:   That's our goal, your Honor.      And we

12   have for you the materials that we had prepared.       I will

13   confess that they are the materials from the longer version of

14   the tutorial --

15             (Whereupon a document was tendered to the Court)

16              MR. JACOBS:   -- from the longer version of tutorial

17   that we had prepared.    So there's more content that we've

18   handed you than we're going to present today.

19              Our agenda is to cover the basic problem that Java

20   solves:   Application development and distribution for

21   heterogeneous or diverse architectures.

22              The Java solution to that -- what's referred to as

23   "Write once; run anywhere."

24              I want to explain a little bit about the Java

25   programming environment that's background for the patents we're
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1    talking about.

2                I want to spend a minute on Java licensing models.

3                We'll talk about and illustrate the patents and the

4    embodiments in the specification for three patents.        And I'll

5    explain how we'll do that.

6                And then briefly I want to draw the Court's attention

7    to the basic architecture of Android, as exemplified by

8    Android -- the Android website.

9                So the problem is that computers are different.      They

10   present different functionalities.     They have different

11   instruction sets.   The term of art is "architecture."       They

12   present different architectures.     And they especially present

13   different architectures to application programmers.

14               And that means that the programmer, when he -- when

15   the programmer's considering, "Am I writing this application

16   for a PC?    Am I writing it for a Mac," he might write it

17   differently.   He might compile it into object code differently.

18   It's all going to depend -- in the prototypical case, it's

19   going to depend on the target's architecture; the target

20   environment.

21               And so we've illustrated that here with an old Mac,

22   an old PC, because in the '90s this was a very substantial

23   issue, and an issue that the Java developers were aiming to

24   solve.

25               The solution is -- this architecture is illustrated
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1    on this Slide 3, in which the programmer writes an application

2    program in, typically, Java programming language.       That is

3    compiled by a compiler at the development site into something

4    called "bytecode," which is an intermediate form of code.         It's

5    architecture neutral.    It is not targeted at a specific

6    hardware platform or operating system.      It is aimed at,

7    instead, some code that is residing on the computer called "the

8    Java Virtual Machine."

9              And so the bytecode and the Java Virtual Machine are

10   the key interface element between the code that has been

11   distributed by the application programmer, and the target

12   hardware platform.   You can think of the virtual machine as

13   another layer; an insulating layer that insulates the

14   application programmer from the underlying hardware and

15   operating system.

16             THE COURT:    May I ask you a question?

17             MR. JACOBS:    Mm-hm.

18             THE COURT:    If you start down there at the bottom of

19   that slide --

20             MR. JACOBS:    Right.

21             THE COURT:    I think I know the answers to most of

22   these questions, but those three computers -- you're not

23   claiming that is the invention?

24             MR. JACOBS:    That's right.

25             THE COURT:    All right.   And then the physical
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1    machine -- you don't claim that as the invention?

2               MR. JACOBS:    That's right.

3               THE COURT:    Nor the operating system?

4               MR. JACOBS:    That's right.

5               THE COURT:    How about Java Virtual Machine?

6               MR. JACOBS:    The specific inventions are a product of

7    this solution.     We do not have a patent that we're asserting

8    here on this whole architectural solution, but in order to

9    understand what the patented inventions arise out of, you have

10   to -- one needs to understand that the -- that this is a

11   solution, but it created its own problems.      And those problems

12   are resolved by the patented inventions.

13              THE COURT:    All right.   One other question.    So I

14   understand what you say.     So you're saying that those four

15   blocks at the top, counting the arrow -- that, while that is

16   not the invention, the particularized inventions arise out of

17   that:   Those four blocks.

18              MR. JACOBS:    Exactly.

19              THE COURT:    All right.   Now, was virtual machine in

20   the prior art, or was that something that was invented by this

21   invention?

22              MR. JACOBS:    There were virtual machines in the prior

23   art.

24              THE COURT:    Okay.   That helps me a lot.

25              Okay.   Please continue.
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1              MR. JACOBS:    Sure.   And, just to put this in the

2    everyday experience, from the standpoint of everyday

3    experience, you may have noticed, sitting at a computer one

4    day, that code asked for the latest version of Java on your

5    desktop machine.   And that's exemplified here by this little

6    Java coffee cup.

7              What happens then is your computer goes to a

8    Java-delivering website, and it delivers the latest version of

9    the Java Virtual Machine, or, as it's often referred to, "the

10   Java runtime environment"; the "JRE."      So that's how we

11   encounter and deal with Java in our daily life on computers.

12             So the Java programming environment consists of the

13   Java programming language.    And the Java programming language

14   is a programming language.    And it's documented in a book

15   called, The Java Language Specification.

16             And it's an object-oriented language, which means

17   that it is -- that the code is written in packages.        Those

18   packages are called "classes."     So the class is the key

19   construct for a Java programmer.     And the class is a -- can be

20   thought of as a template or a form for instances of the class

21   which will be objects.

22             So in the case of an e-mail, for example, the class

23   will define the various fields of your e-mail message:        Your

24   "To"; your "From"; your "Subject" line.      And then it will have

25   methods that will cause the e-mail message to be sent, read,
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1    and received, et cetera.

2               THE COURT:    All right.   Let's pause on that.

3               Coming into today's hearing, I could not understand

4    exactly what was meant by "class" -- that term.       So go over

5    that again, and help me understand what -- how "class" is used

6    in this -- in this technology.

7               MR. JACOBS:   So as I understand it, literally, when

8    you are programming in Java, you say to yourself, "I'm going to

9    divide this overall program into a bunch of tasks and

10   definitions, et cetera."    And you divide that into what are

11   called "classes."

12              In the old days, preJava, you programmed in modules.

13              In Java, you program into a class.

14              And the basic difference is that a class keeps the

15   data and the executable code -- if you will, the methods --

16   together, and encapsulates them with clearly defined interfaces

17   between classes.    That's the essence of object-oriented

18   programming.

19              And so the class is -- you literally write "class."

20   And then you write the code and the data definition under it.

21              And, as you'll see -- I think this next slide will

22   help.   What happens, then, in the Java environment is that the

23   programmer has organized his or her source code into classes.

24   The compiler has compiled that into bytecode.       And the bytecode

25   itself is a class file or, more precisely, a .class file.
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1                And then it is those .class files that the virtual

2    machine -- the format of which the virtual machine understands,

3    and can execute on the target platform.

4                Now, the reason I think the meaning of "class" is

5    somewhat confused is that classes are just sort of pervasive in

6    Java.   And, in particular, there's something called "the Java

7    class libraries."   And those are libraries of classes.       So

8    those are libraries of code that have been written and

9    distributed, with the idea that, rather than having an

10   application programmer have to rewrite that code each time, the

11   application programmer can just write an interface to that

12   code, and invoke it at runtime.

13               So the class is something that's written by the

14   programmer.    It's also something that is available in the Java

15   Platform.    And there are dozens and dozens of these classes in

16   the Java class library.

17               THE COURT:    This one said "class calendar."    What --

18   what would that be?

19               MR. JACOBS:   Exactly.   So that is a calendar

20   function.    In the e-mail example, perhaps you want it to get

21   the date, so you -- rather than writing code for a calendar,

22   you invoke the calendar function through the application

23   programming interface of that class.      It's a function, but it's

24   been -- it's in the form of a class.      And on the runtime in

25   the -- on the computer, the end user's computer, those class
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1    libraries are again available.      Just as the bytecode was

2    deposited in .class files, the class libraries are available at

3    runtime or execution time for the application program to invoke

4    and cause to be executed.

5               And those class libraries have an application

6    programming interface which is documented in a couple of books

7    called The Java Application Programming Interface, and, more

8    recently, on the Web in documentation, so that programmers know

9    how to write the application program interface -- how to use

10   the API when they're writing their code.

11              THE COURT:    What were those books that you just held

12   up?

13              MR. JACOBS:   This is actually from about '96, I

14   think.   This is The Java Application Programming Interface,

15   Volume 1 and 2, by Gosling, Yellin, and the Java team.

16              THE COURT:    What's the other book?

17              MR. JACOBS:   Hm?     It's Volume 1.   Sorry.

18              THE COURT:    Oh.   That's Volume 1.

19              MR. JACOBS:   Volume 1 and Volume 2.

20              And then the other book is The Java Language

21   Specification, by Gosling, Joy, and Steele.

22              THE COURT:    Okay.

23              MR. JACOBS:   So Java licensing models.     The -- Java

24   has been in existence now for -- commercially, for around 15

25   years.   And Sun, of course, commercialized Java, and Oracle
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1    inherited that.

2                It's a quite complicated commercial licensing scheme,

3    but boiled down to it, there are really three ways to get Java

4    from Sun/now Oracle.    One is through royalty-bearing commercial

5    licenses.    If you want to distribute Java on your system, then

6    you can enter into a commercial license with Oracle.         And there

7    are -- these terms are all over the Java industry.       The SCSL or

8    the TLDA are well-known acronyms for Java licensing.

9                An important part of Sun's strategy for Java was to

10   penetrate the academic environment and get students programming

11   in Java.    It was enormously successful.    Java is the leading

12   programming language in universities today.       That was

13   facilitated by a royalty-free academic licensing program.

14               Then most recently, Java was released by Sun --

15   what's called "OpenJDK."    It was released under the GPL; the

16   new public license.    The GPL is a very strong open-source

17   license, in the sense that, if you are a recipient of code

18   under the GPL, you inherit GPL obligations when you modify or

19   extend that code.

20               So, just as the original source -- in this case,

21   Oracle -- has to make available GPL code as open-source code,

22   the recipient of that code must similarly make his or her code

23   on top of the Oracle code available as open-source code, and

24   all the way down the line.    That has the effect, probably, of

25   inhibiting its commercial use.
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1              There are some commercial uses of OpenJDK, but it has

2    not had a substantial impact on the commercial licensing

3    business of Oracle, because of these strong GPL restrictions

4    that are imposed on downstream users.

5              THE COURT:    The word "open" --

6              MR. JACOBS:    Open source.

7              THE COURT:    What does that mean?

8              MR. JACOBS:    Open source.   The source code's publicly

9    available.

10             THE COURT:    Without fee?

11             MR. JACOBS:    Without fee; but with this copy left, as

12   it's referred to, obligation to make your own source code

13   publicly available.

14             So what will happen is, when we talk about Android

15   later in the case, what you'll hear is that Android did not

16   adopt OpenJDK, because the GPL restrictions were viewed as too

17   constraining on handset developers.     That's why this is

18   ultimately going to be relevant.

19             THE COURT:    Okay.

20             MR. JACOBS:    So let's talk about the patents-in-suit,

21   and, more particularly, three patents that present

22   claim-construction issues for the Court in a couple of weeks.

23   There are actually six patents that raise issues; but three of

24   those only raise this computer-readable-medium issue that

25   you'll be getting into when you read the briefs.       Three of them
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1    raise more technical issues, if you will.      And those are the

2    '104, the '702, and the '520.

3               So the '104 patent is the earliest patent in the

4    case.   It dates back to the very early days of Java

5    development.   And it is about resolving data references in

6    generated code.

7               And, in order to understand this, I need to step back

8    once more into this issue of diverse architectures and the

9    challenge facing application programmers.      So an application

10   programmer can program in a source language, and then compile

11   that code into a form that is intended for a specific machine.

12              If you are writing for a SPARC workstation, then you

13   would take your source code, run it through a Sun compiler that

14   is designed for the SPARC environment; similarly, for an IBM PC

15   with an Intel chip.   And then the program would execute that

16   object code tailored for that target environment.       Indeed, it

17   was optimized for that target environment.      So we're talking

18   about code that should execute, if well written and the

19   hardware can support it, lickety split.

20              This is the classic way that programs were

21   distributed.   If you and I went to Egghead Software 20 years

22   ago to buy software for our personal computers, we looked at

23   the side of it, and it said, "This will run on a Windows

24   machine with a 386 processor," or "This will run on a Mac."

25   That code went through a compiler intended for that
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1    environment.

2              The other way to execute code is through an

3    interpreter.   And in the interpreter case, the source code is

4    actually installed on the end user's machine.       And an

5    interpreter interprets each source instruction, one by one, and

6    executes the code.

7              This interpreter is flexible, in the sense that all

8    you can take is source code.     And source code is relatively

9    portable, relatively usable, machine to machine, but it's slow,

10   because you're going through this interpretive step, and this

11   step-by-step execution process.

12             So the '104 patent explains that what they are about

13   in 1992 is developing a hybrid compiler/interpreter, comprising

14   a compiler for compiling source code, and an interpreter for

15   interpreting the compiled code.     That's the backdrop to the

16   invention of this patent.

17             An example of that is the Java architecture, as

18   illustrated here in the way that we've illustrated earlier.

19             So the patent sets up the basic problem here, by

20   explaining the following.

21             In Figure 1A, we're dealing with a compiler model.

22   And we've taken some source-level instruction that required a

23   variable to be captured.    And the compiler, when interpreting

24   that source-level instruction, figured out in the compilation

25   model is the way to do that is do a Load 2 instruction, and
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1    find the data value at Slot 2.

2               So compilation gets all the way down to the

3    data-structure level, and tells the computer, "Go to Slot 2,

4    and find the value we're looking for."      It's fast, but it's not

5    very flexible.

6               The other model is interpretation.      And the '104

7    Patent discusses what happens under interpretation.

8               THE COURT:    We have it there now.

9               MR. JACOBS:   That's in Figure 1B.     And in Figure 1B,

10   we've -- the interpreter is receiving the instruction in the

11   form, "Load Y."    It's an intermediate form of an instruction

12   that was probably something like, "Add X and Y," or "Draw a

13   point, X and Y."    That got compiled to an intermediate

14   instruction of the form "Load Y"; but now the interpreter has

15   to -- each time it encounters this instruction, it has to go

16   figure out where Y is.    And that is going to take machine

17   cycles.   That is going to be slow.

18              Now, recall that what we're going to do in Java is

19   we're going to install this virtual machine layer on our

20   end-user computer.    And unless we change it, it's going to

21   going through these steps.    It is going to receive bytecode.

22   It's going to encounter "Load Y," and it's going to resolve it,

23   time after time.    And that is going to be slow and inefficient.

24              So what the inventors came up with in 1992 was a kind

25   of a hybrid solution for this hybrid architecture.       And the
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1    hybrid solution is to resolve this symbolic reference -- the

2    "Load Y" reference -- the first time; but the next time around

3    and subsequent times, rely on that previous resolution to the

4    numeric value.

5              So we --

6              THE COURT:    Say that again; that last sentence.

7              MR. JACOBS:    It's going to rely on the resolution to

8    that numeric value.    So we'll see that the -- in this

9    illustrative example in the patent, in the embodiment

10   disclosed, the first time the interpreter goes through this

11   process, it will find Y.    It will find that it is in Slot 2.

12   And then it will, somewhere, whether -- and this is part of the

13   issue between the companies.     Whether it's by literally

14   rewriting the old reference, or somewhere else, some other

15   method of relying on the fact that this resolution has

16   occurred, the next time around, it will go straight to Slot 2.

17             So the symbolic reference has been understood once,

18   and then, in a sense, converted to a numerical reference,

19   speeding up execution.    And this was a quite important

20   contribution to the art of this hybrid compiler virtual machine

21   architecture.

22             And we can see this expressed -- the invention

23   expressed in an illustrative claim:     Claim 11.    So we have

24   intermediate form object code.     That's what the compiler

25   generated in this hybrid architecture.      And it has symbolic
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1    references.    In the illustration, that's a Y.

2               And then we are going to determine a numerical

3    reference that corresponds to the symbolic reference.        And then

4    we're going to obtain data in accordance with that numerical

5    reference.    So I think of this.   In my own mind, this is

6    hybridizing the hybrid architecture, because, at the virtual

7    machine, we're doing a kind of a compiler-like thing after

8    we've received the code.    We're resolving the variable into a

9    numerical reference, doing it once, and not doing it

10   repetitiously.

11              So the next patent with some substantive

12   claim-construction issues is the '702 class file redundancy

13   removal.   So this is why it's important to understand class

14   files.   So the -- because the problem that this patent

15   addresses is that, as we explained, we have the class files

16   written by the application programmer.      They retain their

17   "class fileness" after compilation by a Java compiler.        They

18   are now .class files.

19              And then we have the Java class libraries, which are

20   also class files.

21              And the upshot of all of this is that the -- when --

22   if you just load all of this up in memory and don't do anything

23   else to it, as the patent explains, there could be hundreds and

24   thousands of class files taking up space in your memory.        And

25   so what the '702 patent discloses is a way to solve that
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1    problem.    And the way that is going to be occur is by taking

2    out the redundant elements, and putting them somewhere else.

3                So we have some illustrative class files here.      The

4    different colors represent different kinds of different

5    elements.

6                It could be a lengthy string that would otherwise

7    take up a lot of memory.    And what the -- what a preprocessor

8    does is examine the class files; pull out the common elements;

9    put them in a shared location; and create a new format called

10   an "mclass," or modified class files.      The original class files

11   have now been compacted by the removal of the shared elements.

12   And illustratively, we're now using far less memory space.

13               Now, this is a -- an important function, because, as

14   I mentioned, the Java bytecode has all of these class files in

15   it that are independent chunks of code.      This results in part

16   of this being an object-oriented programming language.

17               Now, there's another step that's worth noting,

18   because this is kind of a technical point that goes to the

19   claim construction -- claim-construction issue here.        In the

20   original class file, recall the class files are self-contained.

21   So the data and the code that relates to it are all in the same

22   little package.   And so the references in the original class

23   file to what will ultimately be defined to be a shared

24   element -- those are internal references.

25               When the mclass file is created, this new package
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1    that contains the reduced class file and the shared elements

2    that has to be -- somehow the reduced class files need to be

3    adjusted, so that they point to the shared location.        They're

4    not merely -- technically, they can't just be a subset of the

5    original reduced class files.     They have to be modified or

6    adjusted in order to point now to this shared location.

7              And, in fact, the specification discusses this, by

8    noting that the -- there's a new constant type.       And that new

9    constant type replaces the duplicated element in the embodiment

10   disclosed and discussed here, and replaces it with this

11   pointer; this index into the shared location.       So that's the

12   '702.

13             An illustrative claim.     We're going to preprocess the

14   class files.   So this is before the file is actually loaded

15   into the virtual machine.    We're going to form a shared table.

16   We're going to remove duplicated elements.      And then we're

17   going to form this multiclass or mclass file that has a

18   plurality of the reduced class files and the shared table.

19             The last patent that we'll be discussing is the '520.

20   And Ms. Agrawal will explain that patent.

21             THE COURT:   Thank you, Mr. Jacobs.

22             MS. AGRAWAL:    Good afternoon, your Honor.

23             THE COURT:   Good afternoon.

24             MS. AGRAWAL:    So we talked with you earlier about how

25   Java source code gets compiled into bytecode.
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1              And what the inventors of the '520 patent realized

2    was that sometimes the bytecode -- certain functions expressed

3    in bytecode can be inefficient as is.      So what the inventors

4    realized is that you start off with the source code; compile it

5    into bytecode.   The inventors realized that if you simulate

6    execution without execution, or simulate --

7              THE COURT:   Say that again.     You simulate?

8              MS. AGRAWAL:    You simulate execution before actual

9    execution.   You play execute it.

10             THE COURT:   Uh-huh.

11             MS. AGRAWAL:    You go line by line, and you simulate

12   the execution of this bytecode.     You figure out what its

13   operation is, and you determine a reduced set of instructions.

14   A reduced set of instructions is about -- it's much fewer lines

15   of code than the original bytecode.     And the reduced set of

16   instructions get fed into the virtual machine for actual

17   execution.

18             THE COURT:   Is that done every time you run the

19   program, or just -- this is a designer tool?

20             MS. AGRAWAL:    This is designed by Java engineers.

21   The idea is that it's done for certain sorts of static

22   initializations.

23             The primary example discussed by the '520 patent are

24   static initializations of erase, because they come up often.

25   And the inventors realize that the way that the bytecode
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1    instructions that was designed, there's this -- there's an

2    opportunity to offer this optimization.

3               THE COURT:   Well, let me rephrase my question.

4               If I were to go out and buy a modern computer with

5    modern software, and -- does it have this play execution

6    featured on it, so that each time I run my software, it figures

7    out a more compact way to economize on steps?        And -- or -- you

8    see what I'm saying?    Is that the way it works?

9               MS. AGRAWAL:   Yeah.   So it's not observable to the

10   end user, in the sense that you don't -- that you don't

11   actually see --

12              THE COURT:   I don't see it, but it's going on inside

13   the computer?

14              MS. AGRAWAL:   But it's going on.

15              THE COURT:   Okay.   Good.   All right.

16              MS. AGRAWAL:   And here's our illustrative claim of

17   the '520 Patent, which just covers exactly what we've talked

18   about.   You receive bytecode, and you play execute the

19   bytecode, without actually running the code, to identify the

20   operation, in order to figure out what it does, in order to

21   create a reduced set of instructions.

22              THE COURT:   Let me just read that.

23              A method comprising.    Receiving the code.     Play

24   executing the code without running the code.       Among the

25   processing component to identify the operation.       If the code
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1    were run by the processing component and creating an

2    instruction for the processing component to perform the

3    operation.

4              Okay.   All right.   Go ahead.

5              THE COURT:    Is that it?

6              MR. JACOBS:    So these are the -- where we started

7    with was this point that these inventions arise out of the Java

8    architecture.   They solve problems created by this solution to

9    the problem of distributing code for differing computers.

10             It's -- the Java architecture is worth -- it's worth

11   observing how the Java architecture is exemplified in Android.

12   Just to set up where we're going in this case, this is all

13   material that is available on the Android website.

14             So if you go to the Android website, you'll see that

15   the application programming interface level, the Android

16   software development kit provides the tools and application

17   programming interfaces necessary to begin developing

18   applications on Android using Java.

19             So what is the programming language for Android?

20   It's the Java programming language.

21             And then this virtual machine architecture is --

22   is -- has its modeling in Android.     Every Android application

23   runs on an Android device under a virtual machine.       In Android,

24   that virtual machine is called "Dalvik."      And it runs classes

25   that have been compiled by a Java language compiler.        And then
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1    Android developers added this step of converting the Java

2    bytecode into something called "dex," or ".x," using the dx

3    tool.

4                And Android includes a set of core libraries that

5    provide most the functionality available in the core libraries

6    of the Java programming language.     So we talked about

7    libraries; the class libraries.     A subset of class libraries

8    are called "core libraries."     And Android provides a set of

9    those.

10               So one of them is this calendar application

11   programming interface.    We saw this earlier in the Java

12   documentation.   And this is a set of the Java core libraries at

13   Slide 28.    These are Java core libraries provided with the

14   Android distribution.

15               So if you go look at the Android source code, you

16   encounter this set of java.awt.font, et cetera, and java.beans,

17   and down the line.   This is basically a compare of the Java

18   core libraries with the Android core libraries.

19               And so if you look at the Java architecture and the

20   Android architecture, you see that in both cases, the

21   programmers are programming in Java.      They're both -- in both

22   cases, they're presented with class library APIs.       Actually,

23   both of them use a Java compiler.     In the case of Android,

24   there's this add-on of Java bytecode translated to dex code.

25   They both present this virtual-machine architecture, so that
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1    the bytecode can run on any device that has the VM installed.

2    They both present Java runtime -- Java class libraries at

3    runtime.   And then, of course, it can be any operating system

4    and physical machine that will support the virtual machine in

5    each case.

6               And our basic contention is that, having chosen that

7    architectural similarity, what we'll be proving later in the

8    case is that they didn't have much choice but to implement the

9    inventions embodied in the patent-in-suit.

10              THE COURT:    Now, the -- is there a copyright claim in

11   this case?   I thought there was.

12              MR. JACOBS:    There is a copyright claim.

13              THE COURT:    Just on that slide -- I know we're here

14   today on claim construction, but how does the copyright claim

15   figure into that slide?

16              MR. JACOBS:   It figures into the slide here

17   (indicating).   It figures into the implementation of Java APIs;

18   documented and copyrighted documentation made available under

19   license that has requirements that Android does not meet.        And

20   it figures in the Java runtime libraries which implement that

21   API.

22              And then there are some elements of actually directly

23   copied code that we have observed in the two sets of the code

24   represented by each implementation.

25              THE COURT:    All right.   Okay.   Thank you.   You've got
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1    about two minutes left for last word at the end, but let's now

2    give equal time to the defendant, Google.

3               MR. WEINGAERTNER:   Good afternoon, your Honor.

4               THE COURT:   Good afternoon.

5               MR. WEINGAERTNER:   We also have some hard copies.

6              (Whereupon a document was tendered to the Court).

7               THE COURT:   I only need one of these, right?

8               MR. WEINGAERTNER:   Yes, your Honor.     I can take those

9    back.

10              THE COURT:   Give the rest to my law clerk.

11              MR. WEINGAERTNER:   In the months that have gone by

12   since filing this lawsuit, Android devices, which are accused,

13   have become the fastest-selling smartphones in the world.

14              Oracle's point here is that that is somehow due to

15   Java technology.

16              The Court, in its scheduling order, pointed out that

17   this dispute is a Java-fueled dispute, and that is certainly

18   true.   Our view is not that it's a Java-fueled product, and

19   we'll explain that to some extent.

20              Our to tutorial is, I think, focused on a little bit

21   more technical nuts and bolts.     I know we don't have a whole

22   lot of time.   I'll try to go through them in a meaningful way.

23   And perhaps if your Honor has specific questions, I'm happy to

24   try to address them to the extent we can.      Obviously, the

25   subject matter is very technical.     The seven patents-in-suit --
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1    this, I think, transcends claim construction, to try to give

2    the Court more tools to be able to understand all the different

3    balls that are in the air in this case.

4              And what I'll try to do is tie them up at the end,

5    and perhaps provide a little bit of rebuttal to some of the

6    things that Oracle's counsel pointed out.

7              Next slide, please.

8              What I thought might be helpful is first to give just

9    kind of a brief overview to provide some context for what's

10   happening on the accused-product side.

11             Google and other members of an organization, a

12   nonprofit-type organization called "The Open Handset Alliance,"

13   made up of various companies, including handset developers,

14   developed Android as an open-source platform.

15             Your Honor asked about what that means.       In this

16   case, it means truly free.    I think there are probably

17   differences of view as to whether it is economically free.         In

18   this case, Java is free both monetarily, and also free from

19   basically restrictions on how it's used.

20             There is a compatibility test that people can do, and

21   then they'll use the Java trademark; but it's very open.        And

22   when -- and what I'll do is point up to the screen here.

23             The Android open-source code is provided on a server.

24   Anybody can access it, but it's typically accessed by folks who

25   can actually put it to good use, such as handset and device
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1    manufacturers.    And they create devices like the one sitting

2    right here on my belt.    And a lot of folks in the room have

3    them as well.    Some of the better-known ones are Motorola,

4    Samsung, HTC.

5               And that code then gets downloaded onto a handheld

6    device.   And the folks that create the code that actually gets

7    on the device can do basically whatever they want with it.         And

8    that's actually a bit of an issue in the case.       It relates to

9    whether the burden is being met on infringement contentions.

10   So it doesn't really relate so much to -- it relates a little

11   bit to claim construction, because it has to do with how the

12   claim language is parsed and applied throughout what is sort of

13   known affectionately as "the ecosystem."

14              And so the ecosystem, again, starts with the creation

15   of the open-source code; flows down through the handsets.

16   Handsets are generally sold by the mobile operators, who give a

17   discount because you, you know, sign up for, you know, a

18   contract of some kind to use their services.       And then there's

19   developers that create applications.

20              And the idea behind -- one of the ideas behind open

21   source and behind Android is that, by having this be free,

22   application developers flock to the opportunity to create code.

23   And there are architectural features Android that have made

24   this specifically attractive.     They, I don't think, have much

25   to do with this case.    I think they're independent.
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1                Android is a big project.    I think there are

2    something like 11 million lines of code over many years.        It's

3    been, again, developed by a number of different folks; Google

4    being sort of the lead shepherd.

5                And the developers have access to something called

6    the "Android SDK."    It's the development kit.     And they create

7    applications.   And anybody can do this.     Big companies do it.

8    Individuals do it.    I can go onto a store and download an app.

9    I can write my own.    I can reach in and modify code.      One of

10   the folks in our legal team is the type of person who does

11   that.    I haven't done it myself yet.

12               Next slide, please.

13               This just gives kind of an overview.     I know that

14   some of the typeface is small, your Honor, so there's no way to

15   really fit it in otherwise.    And this is kind of a map of the

16   Android architecture.    Other products, including Java, you

17   know, have illustrations that kind of show this sort of

18   "stack," as it's called.

19               And the different layers are sometimes known in

20   computer science -- known as "layers of abstraction," in some

21   sense.

22               At the top are applications that we're all familiar

23   with:    Keeping our contacts, you know; an actual phone

24   functionality browser.

25               There's the application framework.     That is a little
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1    bit more difficult to parse.

2              "Window Manager" is sort of ascertainable as we stand

3    here in the court.

4              And there are libraries, which are the next level of

5    kind of complexity in a way that are harder to apprehend as we

6    sit here today.

7              And on the very lowest level is something called "the

8    Linux kernel."    Linux is an operating system developed -- I

9    think it's some sort of derivative of UNIX in some way, that

10   was developed as open source probably 20 years ago or so, or

11   maybe a little bit less, that provides a lot of underlying

12   tools that people commonly rely on.

13             Now, where the action is in this case is the Android

14   runtime environment.    And within that -- and I apologize,

15   your Honor, that the typeface is small here, but it's the

16   Dalvik virtual machine, which is named for a town in Iceland

17   where one of the engineers' family used to live, for whatever

18   that's worth.

19             And there are core libraries that are specific; that

20   are very tightly wound up with how the Dalvik virtual machine

21   works, that are kind of shown here.

22             And the rest of this refers to and calls

23   functionality; run -- running applications that people have

24   downloaded.

25             Next slide, please.
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1               We thought it would be helpful to give just a very

2    kind of high-level overview of just what the structure is of a

3    computer as you sit there and look at it; not --

4               THE COURT:   I understand that much.     Skip that one.

5               MR. WEINGAERTNER:   Okay.   Thank you, your Honor.

6    Appreciate the feedback.

7               Just a brief word on APIs.     This was something that

8    your Honor asked about.    One of the things -- and I'll just go

9    very briefly on this.    It's basically a mechanism to allow

10   different applications, different programs, to talk to one

11   another.   It makes -- it makes the market function more

12   smoothly, and allows programs to reach down into things like

13   libraries, which we referred to earlier -- or Mr. Jacobs

14   referred to earlier -- without everybody having to -- it's sort

15   of a Tower of Babel solution, in a way, your Honor.

16              And just one quick note is that APIs permit an

17   application to reach down into the operating-system layer or

18   into other programs.

19              I thought it might make sense to be speak very

20   briefly about just what programming languages are, and how they

21   differ.

22              There's very high-level languages, which are sort of

23   human-readable.   Folks who write code look at them as being

24   very human readable; but machines can't read them.       So you have

25   to kind of move from the human write-able and readable side,
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1    down to a form that ultimately, as your Honor, I'm sure, knows,

2    ones and zeroes that represent high and low voltages that

3    computers use to actually carry out operations.

4              The translation from one level to the other that

5    needs to be done is done by compilers that take the kind of

6    human-readable code, and takes it down to a level that's

7    general not human readable, although some of our engineers say

8    that they actually can read some of this very low-level code.

9              THE COURT:   Literally the ones and zeroes on the

10   right side there?

11             MR. WEINGAERTNER:    Yes, your Honor.

12             And, in fact, I'm glad your Honor raised that

13   question, because there's an issue in this case of what it

14   means to be in an intermediate representation.

15             This case involves something called "bytecode,"

16   which, is in a way, in between high-level languages.        It's a

17   little bit easier to see what's going on.      And bytecode is

18   important for how virtual machines operate.       And I have a few

19   slides on that.

20             So a virtual machine can be thought of, in a way, as

21   an adapter that allows -- the adapter is basically written for

22   each piece of hardware operating system.      And once it's in

23   there, you can write code that runs on any of them.        And

24   Mr. Jacobs referred to that.     It's an old concept that goes

25   back at least as far as the '60s.     And there are reasons why it
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1    became popular later, but it's -- the idea here is that

2    somebody does all the work for you.     Somebody writes the

3    virtual machine --

4                THE COURT:   That right-hand column, you're saying,

5    goes back to the 1960s?

6                MR. WEINGAERTNER:   Yes, your Honor.    And we've got a

7    time line.

8                THE COURT:   We'll come to that.

9                MR. WEINGAERTNER:   Okay.   I --

10               THE COURT:   Just walk me through particularly that

11   second and third step there on the right-hand column.

12               MR. WEINGAERTNER:   Yes, your Honor.

13               And so -- and again, we've got user here, but in a

14   way, you can also imagine a developer being there who writes

15   the code.    The code is written in a way that -- using words

16   like "If," Then," Fetch," Execute," perhaps, or other -- or "Do

17   this for this period of time until this condition is met."

18               And that kind of -- if you reduce it down to the ones

19   and zeroes level, it has to be very specifically done for this

20   operating system.    So the virtual machine says, "Hey.      You know

21   what?   Just compile it down a little bit; not fully down to --

22   but somewhere in between."

23               And that virtual machine will then take that next

24   step from that language down to a specific operating system.

25   So again, the folks that write the virtual machines who do the
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1    hard work of building the bridge here -- that's very specific

2    to the operating system which is, in turn, built to run on a

3    particular hardware.

4                THE COURT:   Yeah, but over on the left-hand side,

5    you've still got it running with ones and zeroes at the bottom

6    with the orange box.     So what's the difference between that

7    left column and the right column?

8                MR. WEINGAERTNER:   That's a great question,

9    your Honor.    The difference is that this native application

10   right in here, which we don't show, is a compiler.       Compiles

11   down specifically for this machine.

12               And so what I have to do is actually write this

13   application for this operating system.      And so if I'm an

14   application developer, it's kind of a huge burden for me to

15   say, "Well, I'm going to write one to run on Mac; and write

16   another one to run on Windows machine; and write another one to

17   run on Android," or whatever it might be.

18               So the reason that this wasn't always done, because

19   it seems sort of -- well, why would we always do this? -- is

20   because it involves more processing time.      And that was an

21   issue.    Your Honor may recall there was a time when computers

22   ran very slowly, and they didn't have much memory.       And so

23   people would use these things, but it was a real burden.

24               And in the '90s, as you know, chips became a lot

25   faster.    And we all can see the effects of that around us.
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1    Virtual machines became more practicable.

2              And, in fact, the advent of the Internet made them

3    more practical, in a way, as well, because you'd have code that

4    would be coming down over the 'net to any device.       And so --

5    and so Java, in a way, kind of rode the wave.       And, in fact, we

6    have a quote later in the presentation that your Honor can read

7    if we don't get to it, that kind of credits, in a way, the rise

8    of the Internet with Java.     And Java kind of caught that wave,

9    in a way, and rode it; but the concept's predated by more than

10   one decade, for sure.

11             THE COURT:    And the phrase "virtual machine" was back

12   in the '60s, too?

13             MR. WEINGAERTNER:    Yes, your Honor.

14             Next slide.

15             Just an example of some source code; nothing all that

16   interesting, but I guess the thing, I suppose, is it's slightly

17   more human readable.

18             Just flip back for a moment.

19             There's actual English typed words in there.        This is

20   the most simple of all programs.     It basically says, "Print to

21   the screen.    Hello world."

22             It's used a lot in textbooks to show this basic

23   structure.    And this is called, and it doesn't return a value.

24   It just says, "Print to the screen," but that gets represented

25   at the machine level in this language that only computers can
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1    read, where -- sort of that's designed for computer reading.

2    That basically allows the microprocessor that -- most of which

3    had been developed down the road here -- can operate on.        So

4    the compiler basically translates from one to the another.

5              Actually, probably skip this one (indicating).

6              Again, the point here is that you can't run on two

7    different systems.   That was -- hearkens back to the point

8    your Honor raised earlier:    What was the difference?

9              Well, here, there is no compatibility.       We all

10   remember the days when you agonized over which computer to buy,

11   because you knew that you might love a Macintosh or you might

12   love a Windows machine, but some of them, you couldn't run

13   certain programs and certain games on them, for example.

14             Next, please.

15             So again, just to cover virtual machine -- and we

16   have other definitions -- you know, it basically simulates a

17   physical machine; simulates an operating system, so the

18   programs don't have to worry about where they're running.        They

19   think they're running on any machine.

20             And we can skip this.

21             Just for your Honor's reference, there's a few

22   different definitions out there.     They're not too

23   controversial.

24             THE COURT:   Still, it must take more time, I would

25   think.
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1               MR. WEINGAERTNER:    Certainly it takes more time to

2    actually run, because you have a whole additional level of

3    processing.

4               And counsel for Oracle pointed out that their -- that

5    their improvements are directed to, the way I see it,

6    efficiency and improvements.     They try to make these things run

7    a bit faster.   Real estate is at a premium on a cell phone.

8    Power is at a premium.     You know, every little bit helps, so to

9    speak; but you know, in our view, it's a very incremental

10   invention.    And it's not the whole virtual machine was

11   invented, by any stretch.

12              Okay.   Next slide, please.

13              Again, the term that comes up is this "Write once;

14   run anywhere" concept.     Again, that sort of goes hand in glove

15   with the concept of a virtual machine, and disconnected from

16   any hardware.

17              Next, please.

18              Just a quick note.    There are fundamentally different

19   ways to realize a virtual machine.     And this is a little bit

20   detailed, because it comes from stack-based architecture, where

21   the instructions are going to push down, kind of like cafeteria

22   trays.   It's called "Last in, first out."     You push your

23   instructions down, and then you kind of pop them back off.

24   It's a way of keeping track of where you are, where you

25   actually run each step.
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1              Next, please.

2              There's also a completely different approach, which

3    is register based, which you can think of as, rather than

4    pushing down onto a cafeteria tray, you reach individual

5    cubbyholes that have specific names on them.       And there's -- it

6    goes down to the fundamental --

7              And that's actually an important point here.        Java --

8    the Java Virtual Machine is a stack-based architecture.         This

9    isn't directly, you know, relevant to any particular claims in

10   the case, but it's the kind of important, we think, in terms of

11   telling the story, that -- that Android is register based.         And

12   in some ways, that actually permits/facilitates multitasking,

13   which is something that Android is regarded as doing very well.

14   It makes the handheld devices more useable.       People have

15   multiple applications running at the same time.       And a

16   register-based approach facilitates that to some extent.

17             Next slide.

18             So this just compares.     Our point is that they're

19   different.

20             Next, please.

21             So, your Honor, this is a time line that shows the

22   various virtual machines over the course of time.       And these

23   are all, you know, searchable on Wikipedia and other places.

24   Just to kind of get a sense of where we are, Java Virtual

25   Machine, you know, falls here; a couple, three decades after
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1    some of the earliest ones.     Dalvik is out here.    And Flash is

2    one you're probably familiar with, your Honor, that permits

3    running of videos, and so forth, on a machine.       Microsoft has

4    its version.

5                So, just to go over pros and cons, programmers can

6    create a single program that will work equally well.        It's

7    great for the Internet, because you don't have to are worry if

8    it gets downloaded to whatever machine happens to be running

9    the code.    And, of course, folks who have code are continually

10   making it available to be downloaded to create this ecosystem

11   that we referred to.

12               The problem is that it can be slower, because it's an

13   extra layer of interpretation.     It would be like walking around

14   with an interpreter by your side who had to interpret every

15   sentence that you say.

16               Another potential issue is that, because you're kind

17   of reducing to a particular common denominator, you have to

18   take into account that different machines might have different

19   features, and you have to speak kind of commonly to the ones

20   that overlap with each other.

21               Okay.   This is something that your Honor raised

22   earlier.    What is this bytecode?

23               Bytecode, again, is something that's a notch above

24   the actual underlying machine code, in a way.       It's an example

25   of the intermediate form that code can be in.       And that's one
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1    of the terms that's being construed in this case.

2               We're not going to go into details on that.       We just

3    wanted to make sure it was clear kind what was really at issue

4    here.

5               And again, here -- here's an example of what bytecode

6    can look like.   It's a little bit more abstract.      It can

7    actually be implemented in ones and zeroes.

8               And what's important, I guess, to know as well is

9    that the virtual machine doesn't compile the code down.         It

10   actually interprets the code.     So it goes instruction by

11   instruction, and then reduces it down to the ones and zeroes to

12   actually carry out the instruction.     And that can be slower as

13   well than compiled code, that's already down at that level.

14              THE COURT:   Can you go back to that last slide right

15   there?   Right there.

16              MR. WEINGAERTNER:   And then, just to skip ahead one

17   -- so the point here is that you can actually run Windows on

18   Apple.   And the folks that actually write the virtual machine

19   did the underlying footwork to create that sort of adapter that

20   sits on each of these machines.

21              And this is --

22              In fact, just put all three of them up.

23              This just gives an example of, side by side, what the

24   differences are between source code, bytecode.

25              THE COURT:   Let's pause on that.
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1                MR. WEINGAERTNER:    Yes, your Honor.

2                THE COURT:   What is that language that's on the

3    bottom left?

4                MR. WEINGAERTNER:    Okay.   This one -- I think I'll

5    have to ask Mr. Francis.     I think this is in Java.    I'm not

6    exactly sure.   Java, in a lot of ways, is actually relatively

7    similar, and actually derives in some ways from C, which is an

8    older programming language.

9                THE COURT:   Well, okay; but I'm curious.    Go ahead

10   and ask Mr. Francis.

11               MR. FRANCIS:   Your Honor, it's simply an example of

12   what the code at the source-code level would look like.        This

13   particular example in this instance, it's creating a button on

14   the screen that --

15               THE COURT:   I understand.   What's the name of the

16   language?

17               MR. FRANCIS:   I believe it is Java, your Honor.

18               THE COURT:   Okay.   All right.   So that one -- so

19   then, to get down to the bytecode level, those -- why is it in

20   different colors?    I don't think that one that's in orange and

21   purple and green.

22               MR. WEINGAERTNER:    Probably bad design choice,

23   your Honor, I have to candidly admit.

24               THE COURT:   So the reason I ask you --

25               MR. WEINGAERTNER:    This could easily be in black.
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1               THE COURT:   So the -- the middle step -- what does

2    that correspond to in the left-hand step, where it says

3    "iconst_0"?

4               MR. WEINGAERTNER:    Again, this is, I think, an

5    example, your Honor.    It would be very difficult, because each

6    one of these instructions will require particular operations,

7    like store a particular value.       So it's actually not really

8    even possible.    If you could imagine, there isn't a one-to-one

9    correspondence.    You'd have to basically take one of these

10   instructions, and kind of expand that.

11              THE COURT:   Is that a real thing, or did somebody

12   just pull out things that look nifty, and stick them up there

13   but they didn't really work?

14              MR. WEINGAERTNER:    It's real.    In terms of the

15   format, what we didn't do was take a particular instruction and

16   de-compose that.     I'm not sure.   I guess it's an example.

17              THE COURT:   It's just illustrative.     It may not be

18   real.   All right.

19              And then the bytecode gets reduced down to zeroes and

20   ones.

21              MR. WEINGAERTNER:    Under this -- I'm sorry,

22   your Honor.

23              THE COURT:   Okay.

24              MR. WEINGAERTNER:    That is correct.    And also under

25   the same illustrative condition, not specifically taking --
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1              THE COURT:    Who invented the word "bytecode"?      Where

2    did that come from?    Is that in the patent?

3              MR. WEINGAERTNER:    It comes up in the patent.      It's

4    certainly -- my understanding is that it actually comes out of

5    the Java -- I'm sorry -- out of the virtual-machine concept

6    that predates Java.    I think it goes back before that.      I'm not

7    sure of the exact -- etymologically the first time it occurred

8    in the language, but my understanding of it is that the notion

9    of it, at least, goes back, you know, to the early days of

10   Java -- to the early days of virtual machines prior to Java.

11             THE COURT:   Now, if you had -- if you were trying to

12   solve the problem of an application -- a single application

13   being written once, but run on anything, and you had a Mac and

14   a PC over there, so the intermediate bytecode would be

15   different; would wind up being different, I assume -- tell me

16   if I'm right -- so that it would trigger the right machine code

17   for the two respective --

18             In other words, the bytecode would be different for

19   the --

20             MR. WEINGAERTNER:    No, your Honor.

21             THE COURT:   For the PC, it would be different than

22   the one from the Apple?

23             No?   Not right?   Okay.

24             MR. WEINGAERTNER:    It's a great question.

25             You could almost imagine the virtual machine running
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1    in between here, taking the bytecode, and converting it to the

2    machine code, because that's where that actual layer and

3    additional level of processing and time that's required

4    resides:   In this layer.

5               THE COURT:   Something is omitted there.     So there's

6    another --

7               MR. WEINGAERTNER:    Sorry, your Honor?

8               THE COURT:   There's another step there that's

9    omitted?

10              MR. WEINGAERTNER:    No, your Honor.    This just shows

11   the different kind of languages.

12              In the earlier ones, we just said, "How do you get

13   from one to the another?"

14              Here, in order to get from bytecode, you actually

15   have to bridge this gap, and bridge this gap here; but this

16   right here is actually running on the actual machine, so the

17   bytecode itself is portable.

18              THE COURT:   So the bytecode would look the same for

19   the Apple as the would for a PC?

20              MR. WEINGAERTNER:    Yes, your Honor.

21              THE COURT:   I'm taking up too much of your time.

22   You've got about four or five more minutes, and then --

23              MR. WEINGAERTNER:    We're happy to, whenever we can --

24              THE COURT:   Okay.

25              MR. WEINGAERTNER:    Maybe I can find an example to
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1    skip to.   Let's skip to Slide 39.    I should have worn my

2    glasses.

3               Okay.   This is the quote that I mentioned earlier.

4               And, by the way, your Honor, I just wanted to mention

5    one point.   There was a discussion about class files earlier,

6    and I think there may have been a misapprehension.       The concept

7    of a class, although present in Java, actually grew out of

8    object-oriented programming, which precedes Java.       The C++

9    program language, your Honor, is one of those.       And so Java

10   takes advantage of this notion of what a class is.

11              And so earlier we mentioned that there is -- there

12   are some interesting quotes from the folks who actually

13   developed Java; James Gosling being the person who is known as

14   the progenitor, in some ways, of Java, pointing out that

15   networking and Java go hand in hand, because the network allows

16   you to move things around to different machines really easily.

17              And so Java, again, in a way, kind of rode that

18   existing wave.

19              Next slide, please.

20              We wanted to mention something that had to do with

21   something that Mr. Jacobs pointed out, which is that there's a

22   notion that's at issue here involving what it means to be

23   computer readable, computer-readable medium.       I want to not

24   really say much about the claim-construction issue, but he

25   thought there were some technical issues we should present that
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1    would inform the discussion two weeks from now.

2               And the point is that -- I think if we turn back one

3    slide --

4               As Mr. Gosling said, getting Java out there is all

5    about making code available over network.      It could be one's

6    handheld device.   It could be a computer, like the one sitting

7    right in front of us right here.     And the code is received over

8    a network onto a machine.

9               It's important, because the way some of the claims

10   are drafted specifically set out to kind of capture this notion

11   that the code is being transmitted.

12              Next slide.   Thanks a lot.

13              And it could be transmitted from a local storage

14   device over a wire.   It could be transmitted from a server over

15   the Internet.   There could be any number of media that get

16   used, known primarily to big companies that have made huge

17   investments in telecommunications transmission equipment.        And

18   it could be over a local area network; but in all instances,

19   it's being transmitted.

20              Next slide.

21              And these are just some examples of how data and code

22   ends up on our computers.    Coaxial cable is well known.      You

23   know, cable TV comes over coaxial cable.      Copper wires, we all

24   know.   Fiber is reasonably common.    Infrared.    People sometimes

25   will send handheld devices using infrared transmission.
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1    Sometimes it's acoustic waves.     Fax machines, for example, use

2    that.   Light, which is, of course, related to fiber optics.

3    The point is there's a what's called a "carrier wave."        This is

4    one representation that has a particular frequency.        And signal

5    that you want to carry in it.     This wave a modulated to sort of

6    impose this signal on this carrier.     This is just a very

7    generic example, but that's how data actually winds up on

8    machines over the cables and over the Internet.

9               THE COURT:   Is this an issue in the case?

10              MR. WEINGAERTNER:   It is, your Honor.     The definition

11   of what it means to be computer readable is an issue.        So we

12   wanted to provide a little bit of a background for your Honor

13   to refer to at your Honor's wish; but that's really all we have

14   to say about that.

15              THE COURT:   All right.   What would you -- use the

16   rest of your time to take just one major issue, and lay out

17   what your view is and the opposing view is, so I can kind of

18   see where the two of you part company; but just on one major

19   issue that divides you here.

20              MR. WEINGAERTNER:   Okay.   One major issue.     I guess

21   we could use this '104 Patent.     It's the earliest-filed patent

22   of the group.   Mr. Gosling's an inventor on this one.       It's

23   drafted in some ways very broadly.

24              Interestingly, the patent was reissued, I think, more

25   than once, years after it originally filed.       And the claims got
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1    broader and broader.   So we're dealing with the ones that tend

2    to be quite broad, and try to go down at the root level, to

3    what it means to resolve a data reference.      We have a

4    difference in view as to what that means.      It's one a few

5    examples.    They're not -- they're sort of different issues from

6    one another, but I can certainly focus on this one.

7                And what I want to do is, if we could skip ahead a

8    little bit to Slide -- let's see here -- oh, jeez.       Slide 45.

9                And Mr. Jacobs had very nice slides that showed, with

10   animation, how things worked.     The idea here is that you're

11   resolving symbols down to numeric references, which actually

12   means taking something that is unspecified as to where it will

13   sit on a computer to a specific location.      It's tied to a

14   specific place that you can go and find data.

15               And our understanding of the prior art, which is

16   actually referred to in the patent -- and we have lots of

17   others that go back also decades -- that this idea of having

18   to -- you know, to have the flexibility of a virtual machine,

19   but the speed of compilation, if you have to go and basically

20   resolve these each time you refer to them, it's time consuming.

21   And so the idea is to do it once, and not to do it again.

22               And the way that we believe the patent describes it

23   is by rewriting it, so that you needn't do it that over and

24   over again.

25               And the two parties have a difference in view as to
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1    whether or not resolving actually requires rewriting, or

2    something less than that.    So that's kind of a simply put issue

3    for one of the patents in this case, your Honor.

4              THE COURT:    All right.   Let's leave it there.

5              Mr. Jacobs, I'll give you two minutes if you feel

6    like there's some rebuttal you want to make, but I apologize

7    for not having more time.    I need to bring this to a close.

8              MR. JACOBS:    Your Honor, I think in many ways the

9    tutorials complemented each other; but there is one place in

10   Google's presentation there's a complete disconnect between

11   what we see, and what Google sees.     And that's on this question

12   of the freedom of device manufacturers to change the code at

13   will.

14             Let me step back by saying that, in the Java world,

15   there is a whole regime set up to ensure that the interface to

16   the Java Virtual Machine, whoever implements it -- if it's

17   going to be called Java, it's going to meet it interface

18   definition in order to protect "Write once; run anywhere."         If

19   the JVM across different machines is different, then the

20   bytecode won't execute properly.

21             Mr. Weingaertner pointed out that Java bytecode will

22   not execute on Android machines.     From the Oracle side of the

23   world, that represents a fork in Java, because instead of

24   protecting "Write once; run anywhere," they've diverged from

25   it, and created a different interface.      It has to be dex code
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1    if you're in the Android world; not bytecode.

2               But within the Android world, they, too, want to

3    protect "Write once; run anywhere" as between diverse Android

4    platforms.   So Google has told the users of Android -- the

5    device manufacturers -- to, wherever possible, as illustrated

6    in this slide, use the code available via the Android

7    open-source project -- excuse me -- rather than reimplement

8    significant parts of the system.     Develop device implementers

9    are strongly encouraged to based their implementations, to the

10   greatest extent possible, on the upstream source code.

11              And, more recently, in the news, there have been

12   reports that Google is imposing very tight restrictions on its

13   licensees' ability to adjust the code residing on their

14   devices.

15              So, from a technical standpoint, we see both

16   companies, within their own worlds, aiming at very similar

17   things.

18              We aim, in the Java world, at Java compatibility

19   between diverse devices.

20              In the Android world, they aim at Android

21   compatibility at the Dalvik layer.

22              And so they have implemented a compatibility test

23   suite that has an analogy to the Java compatibility test suite.

24   And they have told their device implementers, "Use the Android

25   code that we make available."
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1              THE COURT:    We have to leave it there.

2              MR. JACOBS:    Thank you very much, your Honor.

3              THE COURT:    You all did a great job.     And I look

4    forward to seeing you in two weeks.     All right.    Thank you.

5              (At 2:57 p.m. the proceedings were adjourned)

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          I, LYDIA ZINN, Official Reporter for the United States

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